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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


  CODE-TO-LEARN FOUNDATION D/B/A
  SCRATCH FOUNDATION,

        Plaintiff,
                                                     Civil Action No. 1:19-cv-67-LO-MSN
  v.

  SCRATCH.ORG, an Internet domain name,

        Defendant.


          PLAINTIFF’S SECOND MOTION TO COMPEL AND MOTION TO
                   DE-DESIGNATE DISCOVERY MATERIAL

       Plaintiff Code-To-Learn Foundation d/b/a Scratch Foundation (“Plaintiff”), by counsel,

moves for an order compelling Defendant to re-produce a full and complete list of domain names

currently or previously owned by the owner of the Scratch.org domain name without a

“Confidential” or “Outside Counsel’s Eyes Only” designation. In support of this motion, Plaintiff

relies on the memorandum and exhibits filed concurrently herewith.



Dated: September 20, 2019            By:      /s/ Attison L. Barnes, III /s/
                                            Attison L. Barnes, III (VA Bar No. 30458)
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                                            d/b/a Scratch Foundation
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                                CERTIFICATE OF SERVICE

       I, Attison L. Barnes, III, hereby certify that on September 20, 2019, I electronically served

the foregoing on all counsel of record via the Court’s CM/ECF system.



                                                  /s/ Attison L. Barnes, III /s/
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